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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JOHN D. FRESHWATER, et al.,

              Plaintiffs,                           Case No. 2:09-cv-464
                                                    JUDGE GREGORY L. FROST
       v.                                           Magistrate Judge King

MOUNT VERNON CITY SCHOOL
DISTRICT BOARD OF EDUCATION, et al.,

              Defendants.

                                            ORDER

       This matter came on for consideration upon the Plaintiff’s Motion for Leave to File

Memorandum Contra to Defendant Weston’s Motion to Dismiss. (Doc. # 32.) The Court

GRANTS said motion.

       The Clerk is instructed to detach the Memorandum Contra (Doc. # 32) and file as of this

date. The Court finds the Memorandum Contra is timely filed.

       The parties shall adhere to the following briefing schedule:

       1.     Reply shall be filed no later than October 5, 2009.

       2.     Non oral hearing is scheduled for October 6, 2009.

       IT IS SO ORDERED.




                                                    /s/ Gregory L. Frost
                                                    GREGORY L. FROST
                                                    UNITED STATES DISTRICT JUDGE
